                         UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                              SOUTHERN DIVISION        FILED I OPEN COURT
                               NO. 7:20-CR-00010-D     ON      I~ 2.i>2D
                                                                      Peter A
                                                                      US District   eourlr., Clerk
UNITED STATES OF AMERICA                                              EaSfem District of NC

              V.                                            ORDER

CHRISTOPHER LEE BAREFOOT, II :


        This matter comes now before this court on motion of the United States to order

the disposition of a firearm and ammunition associated with the above-captioned

case.

        For good cause shown, the Court hereby GRANTS the government's motion,

and orders the Sampson County Sheriffs Office to dispose of One Springfield 1911

Compact 45, semi-automatic handgun, serial number N307175, and all associated

magazines and ammunition, by destruction, incapacitation, or other means in

accordance with its regulations.

        This the   _l_B___ day of   ~pk•..' kie.1 , 2020.

                                       Jlis c. DEVERIII
                                       United States District Judge




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